                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                         )
                                               )
JULIE ANNE STAMPS                              )     Case No. 21-02597-CW3-13
                                               )     Chapter 13
         Debtor.                               )     Judge Walker

         ORDER APPROVING SETTLEMENT OF CLAIM AGAINST THE LAMPO GROUP

                 It appearing to the Court, based on the electronic signature of counsel below, that the
Trustee has filed a notice and motion seeking approval of a settlement with The Lampo Group, LLC, and
that the Trustee has received no objection to the motion, it is, therefore,

              ORDERED, the Trustee is authorized to settle the estate’s claims against The Lampo
Group, LLC, on the terms in the settlement agreement attached to the Trustee’s motion; it is further

                ORDERED, the settlement will fully resolve any claims the Debtor has against The Lampo
Group, LLC; it is further

               ORDERED, the Court shall retain jurisdiction to resolve any disputes arising out of the
Settlement Agreement.

                                               THIS ORDER WAS SIGNED AND ENTERED
                                               ELECTRONICALLY AS INDICATED AT THE
                                               TOP OF THE FIRST PAGE.
ORDER APPROVED FOR ENTRY BY:

/s/ James M. Davis
James M. Davis
Counsel to the Chapter 13 Trustee
P. O. Box 340019
Nashville, TN 37203-0019
615-244-1101; Fax 615-242-3241
www.ch13nsh.com
pleadings@ch13nsh.com




Case 3:21-bk-02597        Doc 52    Filed 03/22/22 Entered 03/22/22 12:40:40                Desc Main
                                    Document     Page 1 of 1
